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 1   RAMSEY & EHRLICH LLP
     MILES EHRLICH - #237954                                                 Sep 14 2020
 2   miles@ramsey-ehrlich.com
     ISMAIL RAMSEY - #189820
 3   izzy@ramsey-ehrlich.com
 4   AMY CRAIG - #269339
     amy@ramsey-ehrlich.com
 5   803 Hearst Avenue
     Berkeley, CA 94710
 6   (510) 548-3600 (Tel)
     (510) 291-3060 (Fax)
 7
     Attorneys for Defendant
 8   ANTHONY LEVANDOWSKI
 9
                                  UNITED STATES DISTRICT COURT
10
                              NORTHERN DISTRICT OF CALIFORNIA
11
                                     SAN FRANCISCO DIVISION
12
     United States,                                    )   Case No.: CR 19-00377-WHA/NMC
13                                                     )
                                                       )
14                  Plaintiff,                         )   STIPULATION AND ORDER RE
                                                       )   MODIFICATION OF BOND AND
15          v.                                         )   RELEASE OF PROPERTY FROM
                                                       )   LIEN
16   Anthony Levandowski,                              )
                                                       )
17                    Defendant                        )
                                                       )
18                                                     )
                                                       )
19                                                     )
20          Defendant Anthony Levandowski and the United States, by and through their respective

21   counsel, hereby stipulate and agree as follows:

22          1. As a condition of Mr. Levandowski’s pretrial release, his father and stepmother,

23   Stephen Levandowski and Suzanna Musick, agreed to post their home at 1655 Oak Ave., St.

24   Helena, California as one of the securities to secure Mr. Levandowski’s bond. Dkt. 9.

25          2. Mr. Levandowski was sentenced by the Hon. William Alsup on August 4, 2020. Dkt.

26   99. The conditions of Mr. Levandowski’s release bond remain in force pending his self-

27   surrender.

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     STIPULATION AND ORDER
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 1           3. Mr. Levandowski’s father and stepmother now seek to make changes to the financing
 2   of their home, and therefore have asked to remove the lien on their property at 1655 Oak Ave.,
 3   St. Helena, California. The government has agreed to the removal of the property at 1655 Oak
 4   Ave., St. Helena, California as one of the securities in this matter. The parties therefore jointly
 5   request that the Court issue the attached Proposed Order modifying the bond, and specifically,
 6   authorizing the Clerk to execute a Full Reconveyance of the property at 1655 Oak Ave., St.
 7   Helena, California to Stephen Levandowski and Suzanna Musick, releasing that property as a
 8   security for Mr. Levandowski’s bond, and to perform any other paperwork required to effectuate
 9   the release of the 1655 Oak Ave. property as a security.
10           4. The parties stipulate and agree that except for the removal of this one piece of real
11   property as security, the bond and conditions of release remain the same.
12
13   Date:   September 12, 2020                             Respectfully submitted,
14
15                                                          /s/
                                                            RAMSEY & EHRLICH LLP
16                                                          Miles Ehrlich
                                                            Ismail Ramsey
17
                                                            Amy Craig
18
                                                            Counsel for Anthony Levandowski
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20
21   Date: September 12, 2020                               DAVID L. ANDERSON
22                                                          United States Attorney

23                                                          /s/
                                                            KATHERINE L. WAWRZYNIAK
24                                                          ANDREW F. DAWSON
                                                            Assistant United States Attorneys
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                                                       2
     STIPULATION AND ORDER
     CASE NO. CR 19-377-WHA
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                                                  ORDER
 1
 2          The Court, having considered the Stipulation Regarding Release of the Property at 1655
 3   Oak Ave., St. Helena, California as a security for Mr. Levandowski’s bond, the Stipulation
 4   having been executed by the United States and defendant’s counsel, and good cause appearing,
 5   hereby ORDERS as follows:
 6          1. The Stipulation is approved; and
 7          2. The Clerk of Court for the Northern District of California shall execute a Full
 8   Reconveyance releasing the property at 1655 Oak Ave., St. Helena, California as a security for
 9   Mr. Levandowski’s bond, and perform any other paperwork required to effectuate the release of
10   that property as a security.
11          3. Except for the removal of this one piece of real property as security, the bond and
12   conditions of release remain the same pending defendant’s self-surrender.
13
14          IT IS SO ORDERED.                                              ISTRIC
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15                                                                  TA


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16   Dated: September 14, 2020                            ______________________________

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                                                                       RANTE
                                                                                M. COUSINS
17                                                                   G
                                                          United States Magistrate Judge
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18
                                                                                                   s
                                                                                       M. Cousin
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                                                                    Judge Na
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     STIPULATION AND ORDER
     CASE NO. CR 19-377-WHA
